         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                       CRIMINAL CASE NO. 3:01cr178


UNITED STATES OF AMERICA,               )
                                        )
                                        )
                 vs.                    )       ORDER
                                        )
                                        )
JAMES EDWARD BYRD, III.                 )
                                        )

     THIS MATTER is before the Court on the Defendant’s Motion to

Release Sealed Documents. [Doc. 249].

     The Defendant, through appellate counsel, moves for the release of the

Statement of Reasons entered on August 21, 2008 [Doc. 224] for the purpose

of preparing the Defendant’s brief on appeal.

     For the reasons stated in the Defendant’s Motion, and for cause shown,

IT IS, THEREFORE, ORDERED that the Defendant’s Motion to Release

Sealed Documents [Doc. 249] is ALLOWED. The Clerk of Court is instructed

to release the Statement of Reasons [Doc. 224] to the Defendant’s counsel.

The Statement of Reasons [Doc. 224] otherwise shall remain filed under seal.




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IT IS SO ORDERED.

                               Signed: March 23, 2009




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